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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 07/06/2022

 FRHUEB, INC.,

                                 Plaintiff,
                                                               21-CV-7395 (RA)(KHP)
                         v.
                                                                        ORDER
 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO,

                                 Defendants.

RONNIE ABRAMS, United States District Judge:

        For the reasons stated at today’s conference, the Court denies Plaintiff’s request to hold

Defendants in civil contempt for violating the interim injunction, and partially grants its renewed

request to broaden the scope of the interim injunction. Specifically, Defendants shall not utilize

“thehuebs.com” domain in connection with the sale of jewelry without a simultaneous disclaimer

that “thehuebs.com” is not connected or affiliated with the Hueb jewelry brand. The remainder of

Plaintiff’s requests for injunctive relief are denied.

        Additionally, for the reasons stated at today’s conference, Defendants’ motion to amend

the answer and counterclaims is granted, and Plaintiff’s motion to dismiss the counterclaims is

denied as moot. By no later than July 13, 2022, the parties shall submit a joint proposed briefing

schedule for the submission of any amended complaint, amended answer, renewed motion to

dismiss, and any additional briefing on the preliminary injunction application.

        The interim injunction that is set to expire on September 30, 2022, see Dkt. 121, is hereby

extended to October 5, 2022. By September 6, 2022, the parties shall submit a joint letter that

includes a list of all witnesses the parties intend to call at the October 5, 2022 preliminary

injunction hearing, indicating whether they would like such witnesses to testify live or by affidavit,
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and a brief summary of the substance of each witness’s testimony. The letter shall also contain a

list by each party of exhibits to be offered at the hearing, with an indication by exhibit number as

to whether any party objects to the exhibits. The objecting party must include a brief statement

that makes clear the basis for its objection and provide any necessary supporting authority.

Together with such letter, the parties shall also provide a copy of each of the exhibits. Finally, the

parties shall also advise whether they prefer to hold the hearing in person or via videoconference.

         The Clerk of Court is respectfully directed to terminate the motions pending at dockets 87,

101, and 122.

SO ORDERED.
Dated:          July 6, 2022
                New York, New York

                                               __________________________________
                                               Hon. Ronnie Abrams
                                               U.S. District Judge




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